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  6

  7   Attorneys for Defendant
      Palomar Community College District
  8

  9                           UNITED STATES DISTRICT COURT
 10                       SOUTHERN DISTRICT OF CALIFORNIA
 11   KATHRYN KAILIKOLE, an                        Case No: 3:18-cv-02877-AJB-MSB
      individual,
 12                                                [Previously San Diego Superior Court
 13
                             Plaintiff,            Case No. 37-2018-00058754-CU-WT-NC
                                                   before the Honorable Ronald F. Frazier]
 14          v.
                                                   DEFENDANT PALOMAR
 15   PALOMAR COMMUNITY                            COMMUNITY COLLEGE
      COLLEGE DISTRICT, a                          DISTRICT’S NOTICE OF PARTIES
 16   governmental entity; and DOES 1              WITH FINANCIAL INTEREST
 17   through 25, inclusive,                       [28 U.S.C. §§132, 1441, AND 1446]

 18                          Defendants.           State Complaint: November 20, 2018
 19
 20          TO PLAINTIFF, HER COUNSEL OF RECORD, AND THE CLERK
 21   OF     THE      U.S.    DISTRICT        COURT,     SOUTHERN          DISTRICT   OF
 22   CALIFORNIA:
 23          The undersigned, counsel of record for Defendant Palomar Community
 24   College District, certifies that the following listed party (or parties) may have a
 25   pecuniary interest in the outcome of this case. These representations are made to
 26   enable the Court to evaluate possible disqualification or recusal:
 27   ///
 28   ///
                                                   1
                                          DEF’S NTC OF PARTIES WITH FINANCIAL INTEREST
                                                          CASE NO: 3:18-CV-02877-AJB-MSB
      FPDOCS 34848812.2
Case 3:18-cv-02877-AJB-MSB Document 2 Filed 12/28/18 PageID.154 Page 2 of 3



  1          1. Palomar Community College District, a governmental public entity; and
  2          2. Kathryn Kailikole, an individual.
  3    Dated: December 28, 2018                   Respectfully submitted,
  4
                                                  FISHER & PHILLIPS LLP
  5
                                           By: /s/ Adam F. Sloustcher
  6                                            Regina A. Petty
  7
                                               Adam F. Sloustcher
                                               Attorneys for Palomar Community
  8                                            College District
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                                   DEF’S NTC OF PARTIES WITH FINANCIAL INTEREST
                                                   CASE NO: 3:18-CV-02877-AJB-MSB
      FPDOCS 34848812.2
Case 3:18-cv-02877-AJB-MSB Document 2 Filed 12/28/18 PageID.155 Page 3 of 3



  1                            CERTIFICATE OF SERVICE
  2         I, the undersigned, am employed in the County of San Diego, State of
      California. I am over the age of 18 and not a party to the within action; am
  3   employed with the law offices of Fisher & Phillips LLP and my business address
      is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
  4
            On December 28, 2018 I served the foregoing document entitled
  5   DEFENDANT PALOMAR COMMUNITY COLLEGE DISTRICT’S
      NOTICE OF PARTY WITH FINANCIAL INTEREST on all the appearing
  6   and/or interested parties in this action by placing    the original    a true copy
      thereof enclosed in sealed envelope(s) addressed as follows:
  7
       Evan Dwin (SBN 241027)                     Telephone: (760) 536-6471
  8    DWIN LEGAL, APC                            Facsimile: (760) 585-4649
       2121 Palomar Airport Road, Suite 170 E-Mail: edwin@dwinlegal.com
  9    Carlsbad, California 92011                 Attorneys for Kathryn Kailikole
           [by MAIL] - I am readily familiar with the firm's practice of collection and
 10         processing correspondence for mailing. Under that practice it would be
            deposited with the U.S. Postal Service on that same day with postage thereon
 11         fully prepaid at San Diego, California in the ordinary course of business. I
            am aware that on motion of the party served, service is presumed invalid if
 12         postage cancellation date or postage meter date is more than one day after
            date of deposit for mailing this affidavit.
 13
            [by ELECTRONIC SUBMISSION] - I served the above listed
 14          document(s) described via the United States District Court’s Electronic
             Filing Program on the designated recipients via electronic transmission
 15          through the CM/ECF system on the Court’s website. The Court’s CM/ECF
             system will generate a Notice of Electronic Filing (NEF) to the filing party,
 16          the assigned judge, and any registered users in the case. The NEF will
             constitute service of the document(s). Registration as a CM/ECF user
 17          constitutes consent to electronic service through the court’s transmission
             facilities.
 18
            I declare that I am employed in the office of a member of the bar of this
 19   Court at whose direction the service was made.
 20          Executed December 28, 2018 at San Diego, California.
 21     Angela Mastin                        By:
 22

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                                     CERTIFICATE OF SERVICE
      FPDOCS 34848812.2
